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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


WAYNE VANATHAN BLACK,                        )
                                             )
        Plaintiff,                           )
                                             )           CIVIL ACTION NO.
        v.                                   )             1:22cv107-MHT
                                             )                  (WO)
KEN BROWN, et al.,                           )
                                             )
        Defendants.                          )

                                        OPINION

       Plaintiff,         an        inmate,          filed      this        lawsuit

complaining        that      he    was    incarcerated         for     an   alleged

violation         of    parole          without       timely         receiving       a

violation warrant or a hearing required by Alabama law.

This      lawsuit       is        now     before         the   court        on     the

recommendation of the United States Magistrate Judge

that     plaintiff’s         case       be       dismissed     for    failure       to

prosecute the case.                 There are no objections to the

recommendation.              After       an       independent        and    de    novo

review       of   the   record,         the      court    concludes        that    the

magistrate judge’s recommendation should be adopted.
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An appropriate judgment will be entered.

DONE, this the 31st day of May, 2022.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
